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IN THE UNlTED S'l`ATES BISTRICT COURT
FOR THE DlSTRlCT OF COLUMBIA

AN"[`HONY MAZZA
5519 30th Pla¢:,¢:q N.W.
Washinglon. D.C. 20015

I’Iaintif`f`, Case No- l:| l-cv-(}U?l‘)-EGS
v.

VERIZON` WASHINGTON, D.C.` INC. et a!.

Def`cndant

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STIPULA'I`ION ()F D!SMleAL WITH PRE.IUDICE
P}ainlif`f. Anthony Mazza, pro se. and Dcfendants AFNI and Veriznu, Washington` D.C..
Inc.. by and through their undersigned attomeys. pursuant to Federal Rule of Civil I’rocedure
41 (a)( l )(ii), hereby stipulate 10 the voluntary dismissal ot`this action with prejudice
Each pan'y s all bear its own attorney Fccs and court costs

DA'I`ED: § { 1b Respcclful!y suhmittcd.

 

 

- 1 . Ronald S. Canter, D.(,‘. Bar #321257
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